                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

SHAWN HORNBECK, et al.                         )
each on behalf of himself                      )
and others similarly situated;                 )
                                               )
                       Plaintiffs,             )
                                               )      Case No. 18-00941-CV-W-BP
       v.                                      )
                                               )
ORSCHELN FARM AND HOME, LLC                    )
d/b/a ORSCHELN FARM AND HOME,                  )
et al.                                         )

               ORDER APPROVING REVISED FINAL STATUS REPORT
              ON SETTLEMENT ADMINISTRATION AND DISTRIBUTION

       The Court has reviewed the Revised Final Status Report on Settlement Administration and

Distribution, (“the Revised Final Status Report”) filed on August 17, 2021, (Doc. 150). The Court

approves the Revised Final Status Report. The Court also approves Legal Aid of Western Missouri

as the cy pres recipient and finds that a further distribution to Class Members would not be practical

given the cost of distribution and the small amount remaining in the Class Settlement Fund. The

Court further approves the Settlement Administrator’s final implementation of this Class

Settlement as set forth in the Revised Final Status Report, with 50% of the uncashed bucket checks

remaining in the Class Settlement Fund (currently $70,592.95) as of October 1, 2021 to be paid to

CITGO and 50% paid to cy pres recipient Legal Aid of Western Missouri.

IT IS SO ORDERED.


                                                   /s/ Beth Phillips
                                                   BETH PHILLIPS, CHIEF JUDGE
Date: August 19, 2021                              UNITED STATES DISTRICT COURT




            Case 4:18-cv-00941-BP Document 151 Filed 08/19/21 Page 1 of 1
